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IN THE UNITED sTATEs DISTRICT coURT _
FoR THE wEsTERN DISTRICT oF TENNESSEE FHED£”'W »W~DB-

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JAFARRIS MILLER,
Plaintiff,

vs. No. 05-2110-B/P

OFFICER G. ROBINSON, et al.,

Defendants.

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ORDER OF DlSMISSAL

 

Plaintiff Jafarris Miller, booking number 04133502, who was,
at the time he commenced this action, an inmate at the Shelby County
Criminal Justice Complex (“Jail")l in Memphis, filed a prp §§ complaint
pursuant to 42 U.S.C. § 1983 on February 7, 2005. Because the plaintiff
provided no information concerning his inmate trust fund account, the
Court issued an order on May 5, 2005 directing the plaintiff, within
thirty (30) days, to comply with the Prison Litigation Reform Act of
1995 (“PLRA”), 28 U.S.C. § 1915(a)-(b), or pay the full $150 filing
fee. The plaintiff’s copy of that order was returned by the post office
on May 20, 2005 with a notation that he had been released en April 25,
2005. To date, the plaintiff has not supplied a forwarding address.

Since the plaintiff has not provided the Clerk with a
forwarding address, there appears to be no way to communicate with him.

lt is the most basic responsibility of a litigant to keep the Court

 

1 The word “prison” is used in this order to refer to all places of

confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

This document entered en the docket she

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mm ama 58 and/or 79(a) FRCP on ~ 5 p

 

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informed concerning' his whereabouts. Accordingly, this action is

DISMISSED without prejudice, pursuant to Fed. R. Civ. P. 41(b), for

failure to prosecute.
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iT rs so oRDERED this !, day cf June, 2005.

 

. NIEL BREEN
UNI ED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02110 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

Jafarris Miller

SHELBY COUNTY JAIL
04133 502

201 Poplar Avenue
1\/lemphis7 TN 3 8103

Honorable J. Breen
US DISTRICT COURT

